Case 1:21-cv-10759-LTS Document 70-1 Filed 05/31/23 Page 1 of 5




                   Exhibit A
      Case 1:21-cv-10759-LTS Document 70-1 Filed 05/31/23 Page 2 of 5
USDC IN/ND case 3:21-cv-00576-HAB-SLC document 48 filed 04/20/23 page 1 of 4


                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION

JAMES BROWN, on behalf of himself            )
and all others similarly situated,           )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )      Cause No. 3:21-CV-00576-HAB-SLC
                                             )
WELLPET LLC.,                                )
                                             )
                                             )
       Defendants.                           )

               OPINION AND ORDER ADOPTING THE MAGISTRATE
            JUDGE’S FINDINGS AND REPORT AND RECOMMENDATION

       Plaintiff, James Brown (Brown), filed this putative class action alleging claims of private

nuisance, public nuisance, and negligence against Defendant, Wellpet, LLC., a pet food

manufacturer operating in Mishawaka, Indiana. Brown contends that his residential home, located

a mile from Wellpet’s manufacturing facility, is repeatedly and continuously invaded by noxious

odors emitted from the facility. These emissions, he alleges, interfere with his use and enjoyment

of his property and cause diminished property values for homeowners. He seeks compensatory

damages and injunctive relief to abate the emissions.

       After conducting bifurcated discovery, Brown moved for class certification (ECF No. 26)

supported by both a memorandum and a preliminary expert report from Mark P. Cal, Ph.D, P.E..,

BCEE (“Cal”). (ECF Nos. 27, 27-5). Wellpet opposed the request for class certification, rebutted

by its own retained expert report from Tony Schroeder, CCM, QEP, CM (“Schroeder”). (ECF Nos.

32, 32-4). Wellpet moved to exclude Cal’s opinion and testimony pursuant to Fed. R. Evid. 702

and Daubert v. Merrell Dow Pharms, Inc., 509 U.S. 579 (1993). (ECF Nos. 30, 31). Brown, in

turn, responded in opposition to the motion to strike and attached a supporting declaration from
      Case 1:21-cv-10759-LTS Document 70-1 Filed 05/31/23 Page 3 of 5
USDC IN/ND case 3:21-cv-00576-HAB-SLC document 48 filed 04/20/23 page 2 of 4


Cal. (ECF No. 35, 35-4). Wellpet moved to strike that too (ECF No. 38). Brown, in turn, moved

to strike Schroeder’s opinions and testimony. (ECF No. 40, 41).

        On November 22, 2022, the undersigned referred this flurry of motions to the Magistrate

Judge to issue a Report and Recommendation (R & R). On March 31, 2023, the Magistrate Judge

entered her R & R (ECF No. 47), recommending the following disposition of the pending motions:

(1) Wellpet’s Motion to Amend its Response should be GRANTED; (2) Wellpet’s motion to strike

should be GRANTED in part and DENIED in part; (3) the parties’ respective motions to exclude

experts should be DENIED; and (4) Brown’s Motion for Class Certification should be DENIED

without prejudice. The parties were advised of the 14-day objection period under Fed. R. Civ. P.

72(b). That deadline has passed without any objections filed by the parties.

                                             DISCUSSION

        A district court may assign dispositive 1 matters to a magistrate judge, in which case the

magistrate judge may submit to the district judge only a report and recommended disposition,

including any findings of fact. 28 U.S.C. § 636(b)(1)(B); Fed. R. Civ. P. 72(b)(1). See also Schur

v. L.A. Weight Loss Ctrs., Inc., 577 F.3d 752, 760 (7th Cir. 2009). The magistrate judge’s

recommendation on a dispositive matter is not a final order, and the district judge makes the

ultimate decision to “accept, reject, or modify” the findings and recommendations, and the district

court need not accept any portion as binding. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(3). See

also Schur, 577 F.3d at 760-61.


1
  Whether a matter is dispositive or non-dispositive is determined by reference to 28 U.S.C. § 636(b)(1)(A),
which gives magistrate judges the power “to hear and determine any pretrial matter” with certain
exceptions. See Adkins v. Mid-Am. Growers, Inc., 143 F.R.D. 171, 176 (N.D. Ill. 1992) (“‘Dispositive’ is
merely a term used to describe the motions listed in subsection 636(b)(1)(A) ....”). Those motions excepted
from § 636(b)(1)(A) are deemed dispositive under Rule 72(b). Id. The statute specifically enumerates eight
exceptions, including motions to dismiss or to permit maintenance of a class action. 28 U.S.C. §
636(b)(1)(A). Thus, the present motion to certify class is deemed dispositive.


                                                     2
      Case 1:21-cv-10759-LTS Document 70-1 Filed 05/31/23 Page 4 of 5
USDC IN/ND case 3:21-cv-00576-HAB-SLC document 48 filed 04/20/23 page 3 of 4


After a magistrate judge makes a report and recommendation, either party may object within

fourteen days of being served with a copy of the same. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P.

72(b)(2). When a party raises specific objections to findings and recommendations made within

the magistrate judge’s report, the district court is required to review those objections de novo,

determining for itself whether the magistrate judge’s decisions as to those issues are supported by

substantial evidence or were the result of an error of law. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P.

72(b)(3). See also Johnson v. Zema Sys. Corp., 170 F.3d 734, 739 (7th Cir. 1999). The court may,

however, defer to those conclusions to which timely objections have not been raised by a

party. Schur, 577 F.3d at 760-61. “If no objection or only partial objection is made, the district

court judge reviews those unobjected portions for clear error.” Johnson, 170 F.3d at 739.

       As recounted above, the parties have not objected to the recommended disposition of the

pending motions and, for good reason. The Magistrate Judge issued a thorough and erudite 58-

page decision resolving the parties’ motions. The court has reviewed the record in this case and finds

that the R & R is not clearly erroneous. Accordingly, the Court adopts in its entirety Magistrate

Judge Collins’ recommended dispositions of the motions.

                                          CONCLUSION

       The Report and Recommendation (ECF No. 47) is ADOPTED IN ITS ENTIRETY with

the following dispositions of the pending motions:

       a. Defendant’s Unopposed Motion to Amend/Correct Response to Motion (ECF No. 33)
          is GRANTED;

       b. Defendant’s Motion to Strike Improper Supplemental Expert Report of Mark Cal (ECF
          No. 38) is GRANTED as to the impermissible legal conclusions reached in the second
          sentence of paragraph 9, the first portion of paragraph 10, the last sentence of paragraph
          24, and the last portion of paragraph 35; the motion is otherwise DENIED;

       c. Defendant’s Motion to Exclude Plaintiff’s Expert, Dr. Mark P. Cal (ECF No. 30) is
          DENIED;

                                                  3
      Case 1:21-cv-10759-LTS Document 70-1 Filed 05/31/23 Page 5 of 5
USDC IN/ND case 3:21-cv-00576-HAB-SLC document 48 filed 04/20/23 page 4 of 4



     d. Plaintiff’s Motion to Exclude Defendant’s Expert, Tony Schroeder (ECF No. 40) is
        DENIED; and

     e. Plaintiff’s Motion for Class Certification (ECF No. 26) is DENIED WITHOUT
        PREJUDICE.

  SO ORDERED on April 20, 2023.

                                       s/ Holly A. Brady__________________________
                                       JUDGE HOLLY A. BRADY
                                       UNITED STATES DISTRICT COURT




                                          4
